                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE


CRAIG CUNNINGHAM                                   )
                                                   )
                                                   )
                      Plaintiff                    )
                                                   )
v.                                                 )       NO. 3:14-2409
                                                   )
                                                   )       JUDGE CAMPBELL
                                                   )
                                                   )
NAVIENT AND SLM CORP.                              )
                                                   )
                                                   )
                                                   )
                    Defendant                      )

                                  ENTRY OF JUDGMENT



Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the Federal Rules of
Civil Procedure on December 21, 2015, as to the order entered 12/21/15 at DE [28] .

                                                   KEITH THROCKMORTON, CLERK
                                                   s/Althea F. Straughter, Deputy Clerk




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